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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

Case No: 20-cr-00266-JST-1
Case Name: USA v. Rothenberg

                   MINUTE ORDER, TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                             PLAINTIFF ATTORNEY:                DEFENSE ATTORNEY:
 Jon S. Tigar                       Kyle Waldinger                     Hanni Fakhoury
                                    Nicholas Walsh                     Nate Torres
                                    Benjamin Kleinman
 TRIAL DATE:                        REPORTER:                          CLERK:
 October 31, 2023                   Pamela Hebel                       Mauriona Lee
 TIME IN COURT:
 5 hours 7 minutes

 PLF    DEF DATE/TIME
 NO.    NO. OFFERED            ID     REC   DESCRIPTION                                            BY
            8:30 am                         Court is reconvened. Matters discussed outside
                                            the presence of the jury.
                8:38 am                     Jury instructions discussed with parties. Additional
                                            jury instructions from parties due November 3, 2023
                                            by Noon.
                8:40 am                     Witness Natala Menezes called to the stand and
                                            sworn for testimony. Direct examination by AUSA
                                            Walsh begins.
                8:59 am                     Direct examination of witness Natala Menezes by
                                            AUSA Walsh ends.
                9:00 am                     Cross examination of witness Natala Menezes by
                                            Mr. Fakhoury begins.
                9:19 am                     Cross examination of witness Natala Menezes by
                                            Mr. Fakhoury ends.
                9:19 am                     Redirect examination of witness Natala Menezes by
                                            AUSA Walsh begins.
                9:19am                      Redirect examination of witness Natala Menezes by
                                            AUSA Walsh ends.
                9:20 am                     Witness excused.
                9:21 am                     Witness Lawrence Weisman called to the stand and
                                            sworn for testimony. Direct examination by AUSA
                                            Waldinger begins.
 191            9:48 am        X      X     December 1, 2015 email chain involving Katie
                                            Fanelli, Lawrence Weisman, David Frank re: “Larry
                                            Weisman/Mike Rothenberg (meeting. . .)”
 192            9:54 am        X      X     January 5-6, 2016 email chain involving David
                                            Frank, Dominic Polizzotto, Larry Weisman, Georgia
                                            Kinne and Mike Rothenberg re: “Mike Rothenberg in
                                            Vegas for CES this week”


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                                    Case No: 20-cr-00266-JST-1
                                  Case Name: USA v. Rothenberg
                                      Date: October 30, 2023
      Courtroom Deputy: Mauriona Lee          - Court Reporter: Pamela Hebel

                          EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF DATE/TIME
NO.   NO. OFFERED           ID    REC     DESCRIPTION                                            BY
                                          January 5-6, 2016 email chain involving David
                                          Frank, Dominic Polizzotto, Larry Weisman, Georgia
                                          Kinne and Mike Rothenberg re: “Mike Rothenberg
                                          in Vegas for CES this week”
193          9:54 am        X     X       January 5-6, 2016 email chain involving David
                                          Frank, Dominic Polizzotto, Larry Weisman, Georgia
                                          Kinne and Mike Rothenberg re: “Mike Rothenberg
                                          in Vegas for CES this week”
194          9:54 am        X     X       January 7, 2016 email chain involving Katie Fanelli,
                                          David Frank, Dominic Polizzotto, Larry Weisman,
                                          Georgia Kinne re: “Mike Rothenberg in Vegas for
                                          CES this week”
             10:05 am                     Jury excused. Court is in recess.
             10:23 am                     Court is reconvened. Jury is present.
             10:23 am                     Direct examination of witness Lawrence Weisman
                                          by AUSA Waldinger resumes.
198          10:40 am       X     X       January 27-28, 2016 email chain involving Larry
                                          Weisman, Tommy Leep, David Frank, Mike
                                          Rothenberg, Katie Fanelli, Dominic Polizzotto, and
                                          others re: “Pilot Grove’s visit to River Studios for
                                          Super Bowl week”
201          10:43 am       X     X       February 5, 2016 email from Dominic Polizzotto to
                                          Mike Rothenberg and others re: “Super Bowl week
                                          VIP events…”
200          10:47 am       X     X       February 4, 2016 memo from Larry Weisman to
                                          Dominic Polizzotto and File re: “Visits to River
                                          Studios/Rothenberg Ventures”
202          10:56 am       X     X       February 17, 2016 email from Mike Rothenberg to
                                          Dominic Polizzotto to Lawrence Weisman re: “River
                                          Studios Follow up” with attachment (River Studios
                                          Diligence List – Pilot Grove)
204          11:02 am       X     X       Rivers Studios Diligence Materials (diligence list,
                                          organization chart, employment contact, income
                                          statement, etc.)
205          11:05 am       X     X       February 17, 2016 email from Mike Rothenberg to
                                          Dominic Polizzotto and Lawrence Weisman, cc:
                                          David Frank re: “River Studios – Complete
                                          Diligence” attaching convertible note, investor
                                          presentation, and terms


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                                    Case No: 20-cr-00266-JST-1
                                  Case Name: USA v. Rothenberg
                                      Date: October 31, 2023
      Courtroom Deputy: Mauriona Lee          - Court Reporter: Pamela Hebel

                          EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF DATE/TIME
NO.   NO. OFFERED           ID    REC     DESCRIPTION                                          BY
208       11:16 am          X     X       February 19, 2016 email from Lawrence Weisman to
                                          Dominic Polizzotto re: “Mike Rothenberg”
209          11:19 am       X     X       February 18, 2016 email from Mike Rothenberg to
                                          Lawrence Weisman cc: Dominic Polizzotto re:
                                          “Documents”, attaching Word version of convertible
                                          promissory note
210          11:20 am       X     X       February 19, 2016 email from Lawrence Weisman to
                                          Mike Rothenberg cc: Dominic Polizzotto, re: “Bend
                                          Reality Promissory Note.docx” attaching Word
                                          documents
212          11:25 am       X     X       February 24, 2016 email from Mike Rothenberg to
                                          Lawrence Weisman cc: Dominic Polizzotto re:
                                          “River Studios – Financials”, attaching pro forma
                                          financials for River Studios
213          11:31 am       X     X       February 24, 2016 email from Mike Rothenberg to
                                          Lawrence Weisman cc: Dominic Polizzotto re:
                                          “River Studios – Financials”
214          11:33 am       X     X       February 24, 2016 email from Lawrence Weisman to
                                          Mike Rothenberg re: “River Studios – Financials”
215          11:37 am       X     X       February 24, 2016 email from Robert Friedman to
                                          Martin Mayo, Lawrence Weisman, Dominic
                                          Polizzotto and Mike Rothenberg re: “Attached River
                                          Studios Note…” attaching clean and redlined copies
                                          of note (adding representation regarding
                                          capitalization of company)
216          11:41 am       X     X       February 24, 2016 email from Martin Mayo, to
                                          Robert Friedman, Lawrence Weisman, Dominic
                                          Polizzotto and Mike Rothenberg re: “Attached River
                                          Studios Note…” attaching redlined and clean copies
                                          of note
             11:43 am                     Jury excused.
             11:43 am                     Witness excused. Matters discussed outside the
                                          presence of the jury.
             11:45 am                     Court is in recess.
             12:04 pm                     Court is reconvened. Jury is present.
217          12:04 pm       X     X       Executed Convertible Promissory Note
234          12:14 pm       X     X       August 10, 2016 email from Justin Grooms to
                                          Lawrence Weisman cc: Mike Rothenberg re: “Pilot
                                          Grove” with attachments, concerning amendment to
                                          convertible note and side letter
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                                  Case Name: USA v. Rothenberg
                                      Date: October 31, 2023
      Courtroom Deputy: Mauriona Lee          - Court Reporter: Pamela Hebel

                          EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF DATE/TIME
NO.   NO. OFFERED           ID    REC     DESCRIPTION                                            BY
235       12:24 pm          X     X       August 13, 2016 email chain involving Mike
                                          Rothenberg, Dominic Polizzotto, Lawrence
                                          Weisman, and others re: “Pilot Grove/River Studios”
236          12:31 pm       X     X       August 16, 2016 email from Lawrence Weisman to
                                          Mike Rothenberg cc: Dominic Polizzotto and Martin
                                          Mayo re: “Amendment”
237          12:34 pm       X     X       August 21, 2016 email from Mike Rothenberg to
                                          “investors@rothenbergventures.com” re:
                                          “Rothenberg Ventures LP Update Letter #1”
238          12:37 pm       X     X       August 23, 2016 email from “Investor Relations” to
                                          investors@rothenbergventures.com, cc: various
                                          people re: “Rothenberg Ventures LP Update Letter
                                          #2”
             12:43 pm                     Direct examination of witness Lawrence Weisman
                                          by AUSA Waldinger ends.
             12:44 pm                     Cross examination of witness Lawrence Weisman
                                          by Mr. Fakhoury begins.
             1:27 pm                      Sidebar begins.
             1:28 pm                      Sidebar ends.
             1:36 pm                      Cross examination of witness Lawrence Weisman
                                          by Mr. Fakhoury ends.
             1:36 pm                      Witness excused
             1:37 pm                      Jury admonished and excused.
             1:37 pm                      Court is in recess. Jury trial continued to November
                                          1, 2023 at 8:00 a.m. in courtroom 6, 2nd floor.




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